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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                 November 04, 2020
                          UNITED STATES DISTRICT COURT
                                                                                  David J. Bradley, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                      §
                                              §
VS.                                           § CRIMINAL ACTION NO. 2:20-CR-1161-1
                                              §
NOE CARRILLO                                  §


 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

       Defendant Carrillo filed a motion to reopen the detention hearing and to set bond

in this case. (D.E. 14). The motion is GRANTED in as far as it seeks a hearing. The

motion to set bond is DENIED.

       A detention hearing was held today in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). Defense counsel presented the proffered testimony of Dorothy Castillo

and presented the live testimony of U.S. Border Patrol Agent Gilbert Ruiz. The Court

heard argument from counsel. The following requires detention of the Defendant

pending trial in this case:

       (1)    There are no conditions or combination of conditions that would reasonably

assure the appearance of the Defendant as required and the safety of the community.

       The evidence against the Defendant meets the probable cause standard, as a Grand

Jury has returned a true-billed indictment in this case. The Defendant is a multiple time

convicted felon, he was on state probation for a felony offense at the of the instant

offense, and has a poor history of compliance with supervision. The findings and

conclusions contained in the Pretrial Services Report are adopted.

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       The Defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The Defendant shall be afforded a reasonable opportunity for private

consultation with defense counsel. On order of a court of the United States or on request

of an attorney for the Government, the person in charge of the corrections facility shall

deliver the Defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.



       ORDERED this 4th day of November, 2020.


                                              ___________________________________
                                              Julie K. Hampton
                                              United States Magistrate Judge




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